                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA

                         Plaintiff,

      v.                                               Case No. 17-CR-10142-EFM

BOGDANA ALEXANDROVNA MOBLEY,
aka BOGDANA ALEXANDROVNA
OSIPOVA,

                         Defendant.



                           UNITED STATES’ MOTION IN LIMINE

       The United States requests this Court issue an order precluding the defendant from

presenting argument, testimony, documentary evidence, or otherwise introducing the dismissal or

declination of charges by the Sedgwick County District Attorney’s Office. The United States

contends that these matters are irrelevant to the proceedings and are otherwise inadmissible.

       With regard to the Sedgwick County District Attorney’s Office decision to dismiss or

decline prosecution of the defendant, the United States has noted that the defendant has repeatedly

referenced that decision in detention arguments. In light of this, the United States is concerned that

such arguments, or testimony regarding that decision, will be introduced by the defense at trial.

       The fact that the Sedgwick County District Attorney’s Office made a non-final decision to

dismiss or decline prosecution is irrelevant to the matters pending in federal court, under Fed. R.

Evid. 401. The local authority’s non-final decision does not tend to prove, or make more likely or

less likely, any fact relating to the question of the defendant’s guilt or the elements of the charged

federal crime(s). Even if it were admissible, the evidence should also be excluded pursuant to Fed.

R. Evid. 403, as it would only serve to confuse the jury.
        Likewise, the mere fact that a local prosecuting authority made a non-final decision does

not prove anything relating to an affirmative defense under § 1204(c) for defendant’s flight on

April 2, 2014. This is particularly true for the fact that any decision occurred after the defendant’s

flight to Russia.

        In light of the foregoing, the United States requests the Court issue an order precluding the

introduction of such argument, testimony, documentary evidence, or other information.


                                               Respectfully submitted,
                                               THOMAS E. BEALL
                                               United States Attorney


                                               s/Jason W. Hart
                                               JASON W. HART
                                               KS Sup. Ct. No. 20276
                                               Assistant United States Attorney
                                               District of Kansas
                                               301 N. Main, Suite 1200
                                               Wichita, Kansas 67202
                                               (316) 269-6481
                                               (316) 269-6484 (FAX)
                                               Jason.hart2@usdoj.gov


                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2017, the foregoing was electronically filed with the

clerk of the court by using the CM/ECF system which will send a notice of electronic filing to

the following:

Kurt P. Kerns/Ian Clark
Attorneys for Defendant
